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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                10/19/20



  Building Service 32BJ Health Fund, et al.,

                         Plaintiffs,
                                                                     20-cv-3631 (AJN)
                 –v–
                                                                          ORDER
  Ubaldo C. Vargas d/b/a Universal Services,

                         Defendant.


ALISON J. NATHAN, District Judge:

        In light of the COVID-19 public health crisis, the Court will not hold the upcoming initial
pretrial conference in this case in person. Counsel should submit their proposed case
management plan and joint letter seven days prior to the scheduled conference, as directed in the
Court’s Notice of Initial Pretrial Conference. In their joint letter, the parties should also
indicate whether they can do without a conference altogether. If so, the Court may enter a
case management plan and scheduling order and the parties need not appear. If not, the Court
will hold the initial pretrial conference by telephone, albeit perhaps at a different time than the
currently scheduled time. To that end, counsel should indicate in their joint letter all times on the
date of the scheduled conference that they would be available for a telephone conference. In
either case, counsel should review and comply with the Court’s Emergency Individual Rules and
Practices in Light of COVID-19, available at https://www.nysd.uscourts.gov/hon-alison-j-nathan.

       SO ORDERED.

Dated: October 16, 2020
       New York, New York
                                               __________________________________
                                                       ALISON J. NATHAN
                                                     United States District Judge
